    Case 2:16-md-02740-JTM-MBN Document 7775-2 Filed 07/30/19 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL)                      )    MDL No. 2740
PRODUCTS LIABILITY LITIGATION                    )
                                                 )
This Document Relates to:                        )    SECTION “H” (5)
                                                 )
Ami Cisco v. Sanofi-Aventis U.S. LLC., et al.;   )    HON. JUDGE JANE TRICHE MILAZZO
Case No. 2:17-cv-16594                           )
                                                 )
_____________________________________            )    MAG. JUDGE MICHAEL NORTH


                                   NOTICE OF SUBMISSION

          PLEASE TAKE NOTICE that the undersigned counsel has filed Plaintiff’s Motion to

 Substitute Party before the Honorable Jane Triche Milazzo.



 Dated:       July 30, 2019

                                                     Respectfully submitted,

                                                     /s/ Leslie LaMacchia
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    Case 2:16-md-02740-JTM-MBN Document 7775-2 Filed 07/30/19 Page 2 of 2




                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of July, 2019, a true and correct copy of the foregoing

has been submitted to the Clerk of Court for filing and electronic service via the Court’s CCM/ECF

system on all counsel of record.




                                                    /s/ Leslie LaMacchia
                                                    Leslie LaMacchia, Esq.
